Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 1 of 16




                              Exhibit 1
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
                Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 2 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                                December 3, 2008

                                                Sacramento, CA

                                                                                             Page 1
                          UNITED STATES DISTRICT COURT

                           DISTRICT OF MASSACHUSETTS

         -------------------------------X

         IN RE PHARMACEUTICAL INDUSTRY               )

         AVERAGE WHOLESALE PRICE                     )   MDL No. 1456

         LITIGATION                                  )

         -------------------------------X

         THIS DOCUMENT RELATES TO                    )   Civil Action:

         State of California, ex rel.                )   01-12258-PBS

         Ven-A-Care v. Abbott                        )

         Laboratories, Inc., et al.                  )

         -------------------------------X

                                        --oOo--

                          WEDNESDAY, DECEMBER 3, 2008

                                        --oOo--

                             VIDEOTAPED DEPOSITION OF

           THE CALIFORNIA DEPARTMENT OF HEALTH CARE SERVICES

                        by J. KEVIN GOROSPE, Pharm.D.

                                        --oOo--



         Reported By:        CAROL NYGARD DROBNY, CSR No. 4018

                             Registered Merit Reporter




                              Henderson Legal Services, Inc.
202-220-4158                                                    www.hendersonlegalservices.com
                                                                                da64dc31-37ca-4ff0-8b1b-f1748d285c39
                Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 3 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                              December 3, 2008

                                                Sacramento, CA

                                                                                       Page 201
    1
             Kevin Gorospe.
    2
                                    We are on the record at 2:35 p.m.
    3
             BY MR. HENDERSON:
    4
                        Q.          Mr. -- Dr. Gorospe, referring back to
    5
             Exhibit 12, if you -- I'd like to direct your
    6
             attention to Section 447.301 in the upper
    7
             righthand corner of the first page,
    8
             "Definitions."
    9
                        A.          Okay.
 10
                        Q.          Do you see that?
 11
                                    And you see there's a definition of
 12
             "estimated acquisition cost," and it says
 13
             "'Estimated acquisition cost' means the agency's
 14
             best estimate of the price generally and
 15
             currently paid by providers for a drug marketed
 16
             or sold by a particular manufacturer or labeler
 17
             in a package size of drug most frequently
 18
             purchased by providers."
 19
                                    Do you see that?
 20
                        A.          Yes, I do.
 21
                        Q.          From time-to-time has Medi-Cal used the
 22
             term "estimated acquisition cost"?

                              Henderson Legal Services, Inc.
202-220-4158                                                  www.hendersonlegalservices.com
                                                                              da64dc31-37ca-4ff0-8b1b-f1748d285c39
                Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 4 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                                 December 3, 2008

                                                Sacramento, CA

                                                                                          Page 202
    1
                        A.          Yes.
    2
                                    MR. COLE:                 Object to the form.
    3
                                    THE WITNESS:                 Yes, we have.
    4
             BY MR. HENDERSON:
    5
                        Q.          And in your experience has Medi-Cal's
    6
             use of the term "estimated acquisition cost" been
    7
             consistent or inconsistent with the definition
    8
             that's shown here in this Exhibit 12?
    9
                        A.          Consistent.
 10
                        Q.          Now, we've handed you some additional
 11
             exhibits that have been marked, and what I'd like
 12
             to do is to -- for probably the next hour, maybe
 13
             two, ask you questions about the methodology
 14
             employed by Medi-Cal for determining the amount
 15
             of reimbursements to pharmacy providers for drugs
 16
             covered under the Medi-Cal fee-for-service
 17
             program and how that methodology has evolved and
 18
             changed over time.
 19
                                    These first few exhibits, I recognize
 20
             that they're dated before you were at the
 21
             Department, but I'd like to ask you to look at
 22
             what's been marked as Exhibit 13, which is a

                              Henderson Legal Services, Inc.
202-220-4158                                                     www.hendersonlegalservices.com
                                                                                 da64dc31-37ca-4ff0-8b1b-f1748d285c39
                Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 5 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                                 December 3, 2008

                                                Sacramento, CA

                                                                                          Page 237
    1
             sorts of discrepancies?
    2
                                    MR. BUEKER:                 Objection to form.
    3
                                    MR. COLE:                 Objection to form.
    4
                                    MS. DANNA:                 Objection to form.
    5
                                    THE WITNESS:                 No.
    6
             BY MR. HENDERSON:
    7
                        Q.          Do you recall the Department making any
    8
             statement approving of drug manufacturers
    9
             reporting false pricing information about their
 10
             drugs to price reporting publishers?
 11
                                    MR. COLE:                 Object to form.
 12
                                    MS. DANNA:                 Objection the form.
 13
                                    MR. BUEKER:                 We do have the
 14
             stipulation; right?
 15
                                    MR. HENDERSON:                 Yes, one -- an
 16
             objection by one defense counsel is an objection
 17
             by all.
 18
                                    THE WITNESS:                 The answer to your
 19
             question is no.
 20
             BY MR. HENDERSON:
 21
                        Q.          Okay.           In 1999 did the California
 22
             Legislature instruct the Department to prepare a

                              Henderson Legal Services, Inc.
202-220-4158                                                     www.hendersonlegalservices.com
                                                                                 da64dc31-37ca-4ff0-8b1b-f1748d285c39
                Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 6 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                               December 3, 2008

                                                Sacramento, CA

                                                                                        Page 238
    1
             study on the -- the adequacy of reimbursements to
    2
             pharmacies?
    3
                                    MR. BUEKER:               Objection as to form.
    4
                                    THE WITNESS:               Pursuant to Senate Bill
    5
             393 the Legislature directed the Department to do
    6
             a study.
    7
             BY MR. HENDERSON:
    8
                        Q.          Okay.           And was that in 1999?
    9
                        A.          That was in 1999.
 10
                        Q.          Okay.           Did -- did the Department take
 11
             any action within the next year on that?
 12
                        A.          No.
 13
                        Q.          Did the Legislature subsequently
 14
             establish a deadline for a study -- such a study
 15
             -- if you recall?
 16
                        A.          Not that I can recall --
 17
                        Q.          Okay.
 18
                        A.          -- specifically.
 19
                        Q.          In any event, did the Department then
 20
             take some action to have such a study prepared?
 21
                        A.          Yes.
 22
                                    In 2001 the Department issued an RFP,

                              Henderson Legal Services, Inc.
202-220-4158                                                   www.hendersonlegalservices.com
                                                                               da64dc31-37ca-4ff0-8b1b-f1748d285c39
                Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 7 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                                December 3, 2008

                                                Sacramento, CA

                                                                                         Page 239
    1
             Request for Proposal, to find a -- company to do
    2
             such a study.
    3
                        Q.          All right.                And that -- that request
    4
             for proposal ultimately resulted in an
    5
             arrangement with Myers and Stauffer, and they
    6
             produced two reports that have been discussed in
    7
             your testimony previously; is that right?
    8
                        A.          That's correct.
    9
                                    They -- they produced essentially two
 10
             reports.               They were -- one on dispensing costs
 11
             and one on acquisition costs.
 12
                        Q.          So about how long did it take between
 13
             when the Department first started the process of
 14
             preparing a request for proposal and when the
 15
             Myers and Stauffer studies were actually issued?
 16
                        A.          Roughly 18 months.
 17
                        Q.          Do you recall approximately how much it
 18
             cost to have those studies done?
 19
                        A.          Approximately $250,000.
 20
                        Q.          The Myers and Stauffer study that was
 21
             done --
 22
                                    MR. HENDERSON:                Let's have this next

                              Henderson Legal Services, Inc.
202-220-4158                                                    www.hendersonlegalservices.com
                                                                                da64dc31-37ca-4ff0-8b1b-f1748d285c39
                Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 8 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                                December 3, 2008

                                                Sacramento, CA

                                                                                         Page 243
    1
                                    THE WITNESS:                Correct.
    2
             BY MR. HENDERSON:
    3
                        Q.          Well, what else would Average Wholesale
    4
             Price relate to other than acquisition cost?
    5
                        A.          That was responding to your --
    6
                        Q.          Okay.
    7
                        A.          -- your question.
    8
                        Q.          All right.                I believe the chart
    9
             indicates that the weighted mean shown in terms
 10
             of average acquisition cost as a percentage of
 11
             AWP is 56.6 percent; is that right?
 12
                                    That's what this says anyway?
 13
                        A.          That's what the chart says, yes.
 14
                        Q.          And if reimbursement were set at AWP
 15
             minus 56.6 percent, what would that mean for
 16
             those drugs that are at the right side of the
 17
             mean?
 18
                                    MS. DANNA:                Object to form.
 19
                                    THE WITNESS:                For products whose
 20
             average acquisition cost is above 56.6 percent
 21
             that would mean the pharmacy would -- would
 22
             essentially lose money on the ingredient cost.

                              Henderson Legal Services, Inc.
202-220-4158                                                    www.hendersonlegalservices.com
                                                                                da64dc31-37ca-4ff0-8b1b-f1748d285c39
                Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 9 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                                 December 3, 2008

                                                Sacramento, CA

                                                                                          Page 244
    1
             BY MR. HENDERSON:
    2
                        Q.          Okay.           And for drugs to the left of the
    3
             mean what would it mean for pharmacies who are
    4
             reimbursed for those drugs?
    5
                        A.          That they would make money based on the
    6
             percentages.
    7
                        Q.          All right.                So if -- would it be fair
    8
             to say that if -- if reimbursement were based on
    9
             AWP minus 56.6 percent of AWP, there would be
 10
             very significant inaccuracies in the amounts of
 11
             reimbursements because of this wide variation in
 12
             the relationship between AWP and actual
 13
             acquisition costs?
 14
                                    MR. BUEKER:                Objection as to form.
 15
             BY MR. HENDERSON:
 16
                        Q.          Is that fair to conclude?
 17
                                    MR. BUEKER:                Same objection.
 18
                                    THE WITNESS:                Based on the -- the chart
 19
             presented, that's correct.
 20
             BY MR. HENDERSON:
 21
                        Q.          Are you aware of any rational policy
 22
             reason for paying inflated reimbursements for

                              Henderson Legal Services, Inc.
202-220-4158                                                    www.hendersonlegalservices.com
                                                                                 da64dc31-37ca-4ff0-8b1b-f1748d285c39
               Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 10 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                                December 3, 2008

                                                Sacramento, CA

                                                                                         Page 245
    1
             those drugs that just happened to fall on the
    2
             left side of the mean?
    3
                                    MR. BUEKER:               Objection as to form.
    4
                                    THE WITNESS:               No, I don't.
    5
             BY MR. HENDERSON:
    6
                        Q.          And are you aware of any rational
    7
             policy reason for paying an inadequate ingredient
    8
             cost for those drugs that happen to be on the
    9
             right side of that midpoint?
 10
                                    MR. BUEKER:               Same objection.
 11
                                    THE WITNESS:               No, I don't.
 12
             BY MR. HENDERSON:
 13
                        Q.          Is it the Department's policy to be
 14
             fair and consistent in its methodology for
 15
             reimbursing drugs?
 16
                        A.          Yes.
 17
                        Q.          Have the -- the discrepancies in the
 18
             relationship between Average Wholesale Price and
 19
             actual acquisition costs that's shown in this --
 20
             in this chart -- have they hindered that
 21
             objective of -- of that policy objective for fair
 22
             and consistent and --

                              Henderson Legal Services, Inc.
202-220-4158                                                   www.hendersonlegalservices.com
                                                                                da64dc31-37ca-4ff0-8b1b-f1748d285c39
               Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 11 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                               December 3, 2008

                                                Sacramento, CA

                                                                                        Page 246
    1
                                    MR. BUEKER:               Objection as to form.
    2
                                    THE WITNESS:               Not to my knowledge.
    3
             BY MR. HENDERSON:
    4
                        Q.          Well, let me ask you this.
    5
                                    If -- well, let me --
    6
                                    Let me withdraw that question and move
    7
             on.
    8
                                    After this report was -- was issued by
    9
             Myers and Stauffer did the California Legislature
 10
             enact changes to the reimbursement methodologies
 11
             by California?
 12
                        A.          There were changes in the methodology
 13
             in 2002, but the report -- this report was issued
 14
             too late in the budget cycle process for it to be
 15
             used in those decisions by the Legislature.                                     They
 16
             had already moved forward a proposal.
 17
                        Q.          I see.
 18
                                    So the -- the proposal was in the works
 19
             already by the time the Myers and Stauffer report
 20
             was issued?
 21
                        A.          That is correct.
 22
                                    This report was -- was used to some

                              Henderson Legal Services, Inc.
202-220-4158                                                   www.hendersonlegalservices.com
                                                                               da64dc31-37ca-4ff0-8b1b-f1748d285c39
               Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 12 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                               December 3, 2008

                                                Sacramento, CA

                                                                                        Page 253
    1
             information about drugs for reimbursement
    2
             purposes?
    3
                                    MR. BUEKER:               Objection as to form.
    4
                                    THE WITNESS:               Yes.
    5
             BY MR. HENDERSON:
    6
                        Q.          As compared to AWPs?
    7
                                    MR. BUEKER:               Objection as to form.
    8
                                    THE WITNESS:               Yes.
    9
             BY MR. HENDERSON:
 10
                        Q.          In your opinion, Dr. Gorospe, if
 11
             manufacturers had reported AWPs truthfully as --
 12
             as accurate measures of actual wholesale prices,
 13
             would this legislation and the efforts made to
 14
             implement it have -- have been necessary?
 15
                                    MR. BUEKER:               Objection as to form.
 16
                                    THE WITNESS:               If you mean by "truthful"
 17
             the description as stated here, what wholesale
 18
             selling price represents?
 19
                                    MR. HENDERSON:               Yes.
 20
                                    THE WITNESS:               Yes, this legislation
 21
             would not have been necessary.
 22
             BY MR. HENDERSON:

                              Henderson Legal Services, Inc.
202-220-4158                                                   www.hendersonlegalservices.com
                                                                               da64dc31-37ca-4ff0-8b1b-f1748d285c39
               Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 13 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                                 December 3, 2008

                                                Sacramento, CA

                                                                                          Page 294
    1
             wanted to increase the -- the reimbursement for
    2
             providers who purchased its drugs?
    3
                                    MR. COLE:                 Object to the form.
    4
                                    THE WITNESS:                 No.
    5
             BY MR. HENDERSON:
    6
                        Q.          Did the -- did the Department ever
    7
             delegate to drug manufacturers the authority to
    8
             determine how much dispensing fees should be paid
    9
             to providers?
 10
                        A.          No.
 11
                        Q.          Did the Department ever take a position
 12
             that drug manufacturers should be permitted to
 13
             report false AWP pricing information so that --
 14
             in order to compensate for inadequate dispensing
 15
             fees?
 16
                                    MR. BUEKER:                 Objection as to form.
 17
                                    THE WITNESS:                 No.
 18
             BY MR. HENDERSON:
 19
                        Q.          In your opinion, Dr. Gorospe, would it
 20
             be a reasonable government policy to give drug
 21
             manufacturers the -- the power to increase
 22
             reimbursements in order to make up for what they

                              Henderson Legal Services, Inc.
202-220-4158                                                     www.hendersonlegalservices.com
                                                                                 da64dc31-37ca-4ff0-8b1b-f1748d285c39
               Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 14 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                                December 3, 2008

                                                Sacramento, CA

                                                                                         Page 295
    1
             perceive to be inadequate dispensing fees?
    2
                                    MR. BUEKER:               Objection as to form.
    3
                                    THE WITNESS:               No.
    4
             BY MR. HENDERSON:
    5
                        Q.          Why not?
    6
                                    MR. BUEKER:               Same objection.
    7
                                    THE WITNESS:               Why not what?
    8
             BY MR. HENDERRSON:
    9
                        Q.          Well, why wouldn't that be a reasonable
 10
             policy to pursue?
 11
                                    MR. BUEKER:               Same objection.
 12
                                    THE WITNESS:               The management of the --
 13
             the program is -- with the State of California
 14
             and with -- and the federal government, and to
 15
             allow a -- what is considered in California a
 16
             provider type, which a manufacturer is, to set
 17
             rates for providers would -- would not make
 18
             sense.
 19
             BY MR. HENDERSON:
 20
                        Q.          It would give the manufacturer control
 21
             over how much money is -- of the State's money is
 22
             spent; is that fair to say?

                              Henderson Legal Services, Inc.
202-220-4158                                                   www.hendersonlegalservices.com
                                                                                da64dc31-37ca-4ff0-8b1b-f1748d285c39
               Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 15 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                                   December 3, 2008

                                                Sacramento, CA

                                                                                            Page 296
    1
                        A.          Potentially.
    2
                        Q.          To your knowledge has --
    3
                                    Let me withdraw that and ask a
    4
             different question.
    5
                                    If Abbott Laboratories reported grossly
    6
             inflated Average Wholesale Prices to First
    7
             DataBank knowing and intending that those prices
    8
             would be used by state Medicaid agencies,
    9
             including Medi-Cal, to pay inflated
 10
             reimbursements to customers, people who bought
 11
             Abbott drugs, would you consider that to be
 12
             deceptive?
 13
                                    MR. COLE:                 Objection.   Form.
 14
                                    THE WITNESS:                 Yes.
 15
             BY MR. HENDERSON:
 16
                        Q.          Did Dey ever to your knowledge come to
 17
             the California Department of Health Care Services
 18
             and tell the Department that it was reporting
 19
             grossly inflated Average Wholesale Prices on its
 20
             drugs?
 21
                                    MR. ROBBEN:                 Objection as to form.
 22
                                    THE WITNESS:                 No.

                              Henderson Legal Services, Inc.
202-220-4158                                                     www.hendersonlegalservices.com
                                                                                   da64dc31-37ca-4ff0-8b1b-f1748d285c39
               Case 1:01-cv-12257-PBS Document 6791-2 Filed 12/21/09 Page 16 of 16
CA Dept of Health Care Services (Gorospe, PharmD, J. Kevin)                               December 3, 2008

                                                Sacramento, CA

                                                                                        Page 299
    1
                                    THE WITNESS:               Yes.
    2
             BY MR. HENDERSON:
    3
                        Q.          Has the Department ever had a -- any
    4
             policy or practice of paying inflated acquisition
    5
             costs in order to compensate for perceived
    6
             inadequate dispensing fees?
    7
                                    MR. BUEKER:               Objection as to form.
    8
                                    THE WITNESS:               Was it a policy?
    9
                                    MR. HENDERSON:               Yes.
 10
                                    THE WITNESS:               No.
 11
                                    MR. HENDERSON:               Okay.
 12
             BY MR. HENDERSON:
 13
                        Q.          Dr. Gorospe, if AWPs had -- as a
 14
             general rule had no relationship whatsoever to
 15
             actual market prices but were simply set by
 16
             manufacturers according to whatever their
 17
             marketing strategy might be, would it make any
 18
             sense to use AWPs at all for determining
 19
             reimbursement?
 20
                                    MR. BUEKER:               Objection as to form.
 21
                                    THE WITNESS:               If that was the only or
 22
             the most available information, you would use AWP

                              Henderson Legal Services, Inc.
202-220-4158                                                   www.hendersonlegalservices.com
                                                                               da64dc31-37ca-4ff0-8b1b-f1748d285c39
